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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                             Case No. 16-80096-Civ-Middlebrooks/Brannon

  SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

  vs.

  NICHOLAS TOMS,

          Defendant.

                                                                 /

         MOTION OF PLAINTIFF SECURITIES AND EXCHANGE COMMISSION
          FOR ORDER TO SHOW CAUSE WHY DEFENDANT NICHOLAS TOMS
                 SHOULD NOT BE HELD IN CONTEMPT OF COURT
        FOR FAILURE TO PAY DISGORGEMENT AND PREJUDGMENT INTEREST

          The Plaintiff Securities and Exchange Commission (the “Commission”) hereby moves for

  an order to show cause why defendant Nicholas Toms (“Toms”) should not be held in contempt of

  court for failure to pay disgorgement and prejudgment interest and states as follows:

          1.       On April 29, 2016 this Court entered, on Toms’ consent, a Final Judgment

  Compelling Toms to Comply with Commission Order and directing him to pay disgorgement and

  prejudgment interest of $64,489.79 (DN 25) (the “Final Judgment”). The Final Judgment

  specifically provides that if Toms failed to make payment by May 2, 2016 the Commission could

  enforce the Final Judgment as to disgorgement and prejudgment interest by moving for civil

  contempt, and/or by other collection procedures authorized by law.

          2.       The Final Judgment also directed Nicholas Toms to pay a civil penalty and interest

  thereon of $175,339.22. As collection of this portion of the Final Judgment is pursuant to the

  Federal Debt Collection Procedure Act, 28 U.S.C. §§ 3001 -3308, which does not provide for the
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  remedy of contempt, the Commission seeks contempt solely with respect to the disgorgement and

  prejudgment remedy portion of the Final Judgment.

          3.      Toms has failed to pay any portion of the amounts he was ordered to pay in the

  Final Judgment. As of August 24, 2016, the amount due on the Final Judgment for disgorgement

  and prejudgment interest is $64,489.79 as ordered on April 29, together with postjudgment interest

  pursuant to 28 U.S.C. § 1961 at the rate of 0.54% in the amount of $111.54. Additional post-

  judgment interest continues to accrue on this amount at the rate of $0.95 a day.

          4.      Toms has the ability to comply with the Final Judgment requiring him to pay

  disgorgement, prejudgment interest, and post judgment interest.

          5.      The Commission submits a proposed Order to Show Cause, which alternatively

  refers this Motion to a Magistrate Judge to conduct an evidentiary hearing and to submit a report

  and recommendation or provides for a hearing before this Court. Either procedure is acceptable to

  the Commission.

          WHEREFORE, the Commission prays that this Court issue an Order requiring Toms to

  show cause, if any he has, why he should not be held in civil contempt for having violated the terms

  of the Final Judgment directing him to pay disgorgement, prejudgment interest, and post-judgment

  interest as set forth above.

          I hereby certify pursuant to Local Civil Rule 7.1(a)(3) that on August 12, 2016 at 8:00 a.m., I

  notified Toms by e-mail of the Commission’s intention to file this Motion. Toms has not

  responded.




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                                     Respectfully submitted

                                     Dated:        New York, New York
                                                   August 24, 2016

                                     /s/ John J. Graubard
                                     JOHN J. GRAUBARD
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                                     Securities and Exchange Commission




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                                  CERTIFICATION OF SERVICE

  I hereby certify that a true and correct copy of the foregoing, and of the Declaration of John J.
  Graubard and the Exhibits thereto, was served by overnight delivery service and by e-mail on
  August 24, 2016 on the parties and counsel shown on the service list below.


                                                 /s/ John J. Graubard
                                                 JOHN J. GRAUBARD
                                                 S.D. Florida Bar No. A5501682


                                            SERVICE LIST

         Nicholas Toms, by overnight delivery service (UPS) to him at 2350 Cherry Palm Road, Boca
         Raton, FL 33432-7913, his last known address, and by e-mail to ntoms@csginc.net;

         Michael Bachner, Esq., by overnight delivery service (UPS) to him at Bachner & Associates,
         PC, 39 Broadway, Suite 1610, New York, NY 10006, and by e-mail to mb@bhlawfirm.com;
         and

         Richard Weinstein, Esq., by overnight delivery service (UPS) to him at Law Office of
         Richard S. Weinstein, P.A., 250 S. Central Boulevard, Suite 101, Jupiter, FL 33458, and by e-
         mail to rsweinstein@gmail.com.




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